                           UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE: JOSEPHINE ROBINSON-REED                       : CHAPTER 13
           Debtor(s)                                 :
                                                     :
         JACK N. ZAHAROPOULOS                        :
         STANDING CHAPTER 13 TRUSTEE                 :
             Movant                                  :
                                                     :
               vs.                                   :
                                                     :
         JOSEPHINE ROBINSON-REED                     :
             Respondent(s)                           : CASE NO. 1-21-bk-00328

               TRUSTEE’S OBJECTION TO AMENDED CHAPTER 13 PLAN

              AND NOW, this 9th day of August, 2021, comes Jack N. Zaharopoulos,
       Standing

Chapter 13 Trustee, and objects to the confirmation of the above-referenced debtor(s)’ plan for the

following reason(s):

               1. Debtor(s)' plan violates 11 U.S.C. Sec. 1322(a)(1) in that the debtor(s) has not
submitted all or such portion of the disposable income to the Trustee as required. More
specifically,

             Trustee alleges and avers that debtor(s)’ disposable income is greater than that
which is committed to the plan based upon the Means Test calculation and specifically disputes the
following amounts:

                     a. Plan payment calculation sum of Lines 34, 35, 36 45.

                2. Debtor(s)' plan violates 11 U.S.C. Sec. 1325(a)(4) in that the value of property
to be distributed under the plan on account of each allowed unsecured claim is less than the amount
that would be paid on such claim if the estate were liquidated under Chapter 7. More specifically,
debtor has excess non-exempt equity in the following:

                     a. Residential real estate.
                     b. Cash accounts – Schedule B, Line 17.

                3. Trustee avers that debtor’s plan is not feasible and cannot be administered due
to the lack of the following:

                     a.   Unfiled 2015-2018 federal income tax returns (Claim #5).
                     b.   Unfiled 2008-2020 local income tax returns (Claim #4).
                     c.   Proof of Claim for James C. Costopoulos.
                     d.   Proof of Claim for York City.
                     e.   Debtor has not commenced adversary.

Case 1:21-bk-00328-HWV           Doc 44 Filed 08/09/21 Entered 08/09/21 14:03:20              Desc
                                 Main Document    Page 1 of 2
               WHEREFORE, Trustee alleges and avers that debtor(s) plan is nonconfirmable and
therefore Trustee prays that this Honorable Court will:

                    a. Deny confirmation of debtor(s) plan.
                    b. Dismiss or convert debtor(s) case.
                    c. Provide such other relief as is equitable and just.

                                                 Respectfully submitted:

                                                 Jack N. Zaharopoulos
                                                 Standing Chapter 13 Trustee
                                                 8125 Adams Drive, Suite A
                                                 Hummelstown, PA 17036
                                                 (717) 566-6097


                               BY:               /s/James K. Jones
                                                 Attorney for Trustee




                                  CERTIFICATE OF SERVICE

               AND NOW, this 9th day of August, 2021, I hereby certify that I have served the
within Objection by electronically notifying parties or by depositing a true and correct copy of the
same in the United States Mail at Harrisburg, Pennsylvania, postage prepaid, first class mail,
addressed to the following:

Tony Sangiamo, Esquire
343 West Market Street
P.O. Box 1324
York, PA 17401

                                                 /s/Deborah A. Behney
                                                 Office of Jack N. Zaharopoulos
                                                 Standing Chapter 13 Trustee




Case 1:21-bk-00328-HWV         Doc 44 Filed 08/09/21 Entered 08/09/21 14:03:20                 Desc
                               Main Document    Page 2 of 2
